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Electronically FILED by Superior Court of California, County of Los Angeles on 04/19/2021 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                 Case 2:21-cv-03793-SVW-PVC Document 1-1 Filed 05/04/21 Page 2 of 48 Page ID #:12
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                                         Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Thomas Long




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                       6
                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                       7
                                                            COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                       8

                       9                                                                                            CASE NO.
                               MARINA GOLDEN, an individual,
                      10
                                                      Plaintiff,
                      11                                                                                            COMPLAINT
                                          vs.
                      12

                      13       SANOFI-AVENTIS U.S., LLC, a Delaware
                               Corporation; BOEHRINGER INGELHEIM           JURY TRIAL DEMANDED
                      14       PHARMACEUTICALS, INC., a Delaware
                               Corporation; GLAXOSMITHKLINE, LLC, a
                      15       Delaware Limited Liability Company; PFIZER,
                               INC., a Delaware Corporation; AMERISOURCE
                      16       HEALTH SERVICES, LLC, a Delaware
                               Corporation; MYLAN PHARMACEUTICALS,
                      17       INC., a West Virginia Corporation; PAR
                               PHARMACEUTICAL, INC., a New York
                      18       Corporation; L. PERRIGO COMPANY, a Michigan
                               Corporation; TARO PHARMACEUTICALS
                      19       U.S.A., INC., a New York Corporation; TEVA
                               PHARMACEUTICALS USA, INC., a Delaware
                      20       Corporation; WOCKHARDT USA, LLC, a
                               Delaware Limited Liability Company; ZYDUS
                      21       PHARMACEUTICALS (USA), Inc., a New Jersey
                               Corporation; CVS PHARMACY, INC., a Delaware
                      22       Corporation; THE KROGER CO., an Ohio
                               Corporation; WALGREEN CO., an Illinois
                      23       Corporation; WALMART INC., an Arkansas
                               Corporation, ALBERTSONS COMPANIES, INC., a
                      24       Delaware Corporation; RITE AID
                               CORPORATION, a Pennsylvania Corporation;
                      25       and DOES 1-10, inclusive.

                      26                              Defendants.

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   1           Plaintiff, Ms. Marina Golden (“Plaintiff”), alleges the following based on information and
   2 belief:

   3 I.        INTRODUCTION
   4           1.     This case concerns personal injuries suffered by Plaintiff as a result of ranitidine, the
   5 active ingredient in both Zantac and its generic forms (“Ranitidine-Containing Drugs”), which had

   6 been used to treat heartburn, upset stomach and ulcers since the early 1980’s until April 1, 2020 when

   7 the U.S. Food and Drug Administration (“FDA”) recalled all Ranitidine-Containing Drugs based on

   8 scientific evidence of a contaminant known as N-Nitrosodimethylamine (or “NDMA”), a human

   9 carcinogen, in the Ranitidine-Containing Drugs.
  10           2.     Plaintiff has been diagnosed with breast cancer because of ingesting carcinogenic
  11 Ranitidine-Containing Drugs due to Defendants’ willful misconduct and gross dereliction of duty.

  12           3.     Had she known that Ranitidine-Containing Drugs would wreak such havoc to her
  13 body, Plaintiff would not have purchased or ingested any Ranitidine-Containing Drug.

  14           4.     Plaintiff seeks redress to compensate her for her injuries and to strongly deter the type
  15 of misconduct that caused to the damages she has and will continue to suffer.

  16 II.       PARTIES
  17           A.     Plaintiff
  18           5.     Plaintiff is a citizen of California and has resided in Los Angeles County, California
  19 at all relevant times.

  20           6.     Plaintiff took prescription generic ranitidine (300 mg) from approximately 1981 to the
  21 late 1980’s. Plaintiff was prescribed generic ranitidine (300 mg) by a various physicians, including

  22 ones practicing at Axminster Medical Group.

  23           7.     Plaintiff consumed over-the-counter Zantac (150 mg) from approximately the mid-
  24 1980’s through 2017 to treat upset stomach and acid reflex on an as-needed basis. More specifically,

  25 from 2014 – 2017, Plaintiff consumed over-the-counter Zantac (150 mg) to treat severe stomach

  26 issues during her cancer chemotherapy treatments.

  27           8.     Plaintiff purchased her Ranitidine-Containing Drugs from various retailers in and
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   1 around Los Angeles County, California, including Albertson’s, CVS Pharmacy, Rite Aid, Kroger,

   2 Walmart, and Walgreens.

   3          9.     As a direct and proximate result of ingesting carcinogenic Ranitidine-Containing
   4 Drugs due to Defendants’ willful misconduct and gross dereliction of duty, Plaintiff was diagnosed

   5 with breast cancer in 2014.

   6          10.    Plaintiff would not have purchased, nor ingested Ranitidine-Containing Drugs had
   7 she known of the hazards associated with the human consumption of Ranitidine-Containing Drugs.

   8          11.    Plaintiff is informed and believes that as a direct and proximate result of Plaintiff’s
   9 ingestion and/or exposure to Ranitidine-Containing Drugs distributed and supplied by Defendants,
  10 Plaintiff experienced conscious pain and suffering and bodily impairment, including, but not limited

  11 to breast cancer. To address the adverse physical effects and damage from Plaintiff’s exposure to

  12 Ranitidine-Containing Drugs, Plaintiff required hospitalizations, in-patient surgeries, and other

  13 medical treatment.

  14          12.    Plaintiff suffered special damages including, but not limited to, medical expenses
  15 and loss of earnings. Additionally, Plaintiff suffered general damages including, but not limited to,

  16 pain and suffering, mental anguish, and loss of enjoyment of life.

  17          B.     Manufacturer Defendants (Brand-Named)
  18          13.    Defendants are collectively composed of entities that designed, manufactured, tested,
  19 marketed, labeled, packaged, handled, distributed, stored, and/or sold Ranitidine-Containing Drugs

  20 under the brand name Zantac or a generic equivalent by either prescription or over the counter.

  21 Defendants sold or otherwise made available ranitidine in the following forms: injection, syrup,

  22 granules, tablets and/or capsules.

  23          14.    Each defendant below regularly conducts business in the state of California, and its
  24 Ranitidine-Containing Drugs have been placed in the stream of commerce to be sold in California

  25 retail locations, including those located in Los Angeles.

  26          15.    Plaintiff ingested and/or was exposed to Ranitidine-Containing Drugs under the
  27 brand name Zantac from each of the manufacturers identified below.

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   1                 1.     Defendant Sanofi
   2         16.     Defendant Sanofi-Aventis U.S. LLC is a Delaware limited liability company with its
   3 principal place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807. Sanofi-

   4 Aventis U.S. LLC’s sole member is Sanofi U.S. Services, Inc., a Delaware corporation with its

   5 principal place of business in New Jersey. Sanofi-Aventis U.S. LLC is a citizen of Delaware and

   6 New Jersey.

   7         17.     Sanofi US Services Inc. is a Delaware corporation with its principal place of business
   8 located at 55 Corporate Drive, Bridgewater, New Jersey 08807. Sanofi US Services Inc. is a citizen

   9 of Delaware and New Jersey.
  10         18.     Sanofi S.A. is a corporation formed and existing under the laws of
  11 France, having a principal place of business at 54 Rue La Boetie, 8th Arrondissement, Paris, France

  12 75008. Sanofi S.A. is a citizen of France.

  13         19.     Sanofi-Aventis U.S. LLC and Sanofi US Services Inc. are subsidiaries of Sanofi
  14 S.A.

  15         34. Chattem, Inc. is a Tennessee corporation with its principal place of business located at
  16 1715 West 38th Street Chattanooga, Tennessee 37409. Chattem is a citizen of Tennessee. Chattem

  17 is a wholly owned subsidiary of French corporation Sanofi S.A.

  18                 2.     Defendant Boehringer
  19         20.     Defendant Boehringer Ingelheim Pharmaceuticals, Inc. is a Delaware corporation
  20 with its principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

  21 Defendant Boehringer Ingelheim Pharmaceuticals, Inc. is a citizen of Delaware and Connecticut.

  22         21.     Boehringer Ingelheim Corporation is a Nevada corporation with its principal place of
  23 business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877. Defendant Boehringer

  24 Ingelheim Corporation is a citizen of Nevada and Connecticut.

  25         22.     Boehringer Ingelheim USA Corporation is a Delaware corporation with its principal
  26 place of business located at 900 Ridgebury Rd., Ridgebury, Connecticut 06877. Boehringer Ingelheim

  27 USA Corporation is a citizen of Delaware and Connecticut.

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   1          23.    Boehringer Ingelheim International GmbH is a limited liability company formed and
   2 existing under the laws of Germany, having a principal place of business at Binger Strasse 173, 55216

   3 Ingelheim AM Rhein, Rheinland-Phalz, Germany. Boehringer Ingelheim International GmbH is a

   4 citizen of Germany.

   5          24.    Boehringer Ingelheim Pharmaceuticals, Inc. is a direct or indirect subsidiary of
   6 Boehringer Ingelheim Corporation and Boehringer Ingelheim USA Corporation, which are wholly

   7 owned, directly, or indirectly, by Boehringer Ingelheim International GmbH. Collectively, these

   8 entities shall be referred to as “Boehringer Ingelheim.”

   9          25.    Boehringer Ingelheim Promeco, S.A. de C.V. is a foreign corporation organized and
  10 existing under the laws of Mexico with its principal place of business located at Maiz No. 49, Barrio

  11 Xaltocan, Xochimilco, Ciudad de Mexico, 16090 Mexico. Boehringer Ingelheim Promeco, S.A. de

  12 C.V. is a citizen of Mexico.

  13                 3.     Defendant GSK
  14          26.    Defendant GlaxoSmithKline LLC, a Delaware limited liability company, has its
  15   principal place of business at Five Crescent Drive, Philadelphia, Pennsylvania, 19112.
  16   GlaxoSmithKline LLC’s sole member is GlaxoSmithKline (America) Inc., a Delaware corporation
  17   with its principal place of business in that state. GlaxoSmithKline LLC is a citizen of Delaware.
  18          27.    Defendant GlaxoSmithKline (America) Inc. is a Delaware corporation with its
  19   principal place of business located at 1105 N. Market Street, Suite 622, Wilmington, Delaware
  20   19801. Defendant GlaxoSmithKline (America) Inc. is a citizen of Delaware.
  21          28.    GlaxoSmithKline plc is a public limited company formed and existing under the laws
  22 of the United Kingdom, having a principal place of business at 980 Great West Road, Brentford

  23 Middlesex XO, TW8 9GS, United Kingdom. GlaxoSmithKline plc is a citizen of the United

  24 Kingdom.

  25          29.    GlaxoSmithKline LLC and GlaxoSmithKline (America) Inc. are subsidiaries of
  26 GlaxoSmithKline plc.

  27          30.     Ranitidine’s origins trace to Allen & Hanbury’s Ltd., who was awarded a patent that
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   1 covered the ranitidine molecule from the U.S. Patent and Trademark Office in December 1978. Allen

   2 & Hanbury, Ltd. was a subsidiary of Glaxo Labs, Ltd. during this period. The FDA granted approval

   3 to Glaxo Holdings, Ltd. in 1983 to sell Zantac to the United States.

   4                 4.     Defendant Pfizer
   5          31.    Defendant Pfizer Inc. (“Pfizer”) is a Delaware corporation with its principal place of
   6 business located at 235 East 42nd Street, New York, New York 10017. Pfizer is a citizen of Delaware

   7 and New York.

   8         32. Boehringer Ingelheim, GSK, Pfizer, and Sanofi are referred to collectively as the “Brand-
   9 Name Manufacturer Defendants.”
  10         33.     At all relevant times, the Brand-Name Manufacturer Defendants have conducted
  11   business and derived substantial revenue from their design, manufacture, testing, marketing,
  12   labeling, packaging, handling, distribution, storage, and/or sale of Zantac within each of the States
  13   and Territories of the United States, and the District of Columbia.            Every Brand-Named
  14   Manufacturer Defendant has conducted business and derived revenue in the state of California.
  15          34.    Based on information and belief, Plaintiff has purchased, ingested, and/or has been
  16 exposed to Zantac manufactured by each of the Brand-Name Manufacturers in California.

  17         C.      Manufacturer Defendants (Generic)
  18                 1.     Amerisource Bergen
  19         35.     Defendant Amerisource Health Services, LLC d/b/a American Health Packaging, is a
  20 Delaware limited liability company with its principal place of business located at 2550 John Glenn

  21 Avenue, Suite A, Columbus, Ohio 43217. Amerisource Health Services, LLC’s sole member is

  22 AmerisourceBergen Corporation, a Delaware corporation with its principal place of business in

  23 Pennsylvania. Amerisource Health Services, LLC is a citizen of Delaware and Pennsylvania.

  24         36.     AmerisourceBergen Corporation is a Delaware corporation with its principal place of
  25 business located at 1300 Morris Drive, Chesterbrook, Pennsylvania 19087. AmerisourceBergen Corp.

  26 is a citizen of Delaware and Pennsylvania.

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   1          37.    AmerisourceBergen Corporation handles about 20% of all pharmaceuticals sold and
   2 distributed throughout the United States. The company has three distribution centers in California.

   3 These centers are located in Valencia, Corona, and Sacramento.

   4          38.    Based on information and belief, Plaintiff has purchased, ingested, and/or has been
   5   exposed to generic Ranitidine-Containing Drugs distributed from these distribution centers in
   6   California.
   7                 2.      Mylan
   8          39.      Defendant Mylan Pharmaceuticals, Inc. is a West Virginia corporation with its
   9 principal place of business located at 781 Chestnut Ridge Road, Morgantown, West Virginia 26505.
  10 Mylan Pharmaceuticals, Inc. is a citizen of West Virginia.

  11          40.    Mylan Institutional LLC is a Delaware limited liability company with its principal
  12 place of business located at 1718 Northrock Court, Rockford, Illinois 61103. The sole member of

  13 Mylan Institutional LLC is Mylan, Inc., a Pennsylvania corporation with is principal place of business

  14 in that state. Mylan Institutional LLC is a citizen of Pennsylvania.

  15          41.    Mylan, Inc. is a Pennsylvania corporation with its principal place of business located
  16 at 1000 Mylan Boulevard, Canonsburg, Pennsylvania 15317. Mylan, Inc. is a citizen of Pennsylvania.

  17          42.    Mylan Laboratories Ltd., a non-party, is a corporation organized and existing under
  18 the laws of India with its principal place of business located at Plot No. 564/A/22, Road No. 92,

  19 Jubilee Hills 500 034, Hyderabad, India. Mylan Laboratories Ltd. is a citizen of India.

  20          43.    Mylan Pharmaceuticals, Inc., Mylan Institutional LLC, Mylan Laboratories Ltd., and
  21 Mylan, Inc. are subsidiaries of non-party Mylan N.V.

  22          44.    Based on information and belief, Plaintiff has purchased, ingested, and/or has been
  23   exposed to generic Ranitidine-Containing Drugs from customer retail locations in California that sell
  24   products from Mylan Pharmaceuticals Inc. and other subsidiaries of Mylan N.V.
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   1                 3.     Par Pharmaceutical
   2          45.     Defendant Par Pharmaceutical Inc. is a New York corporation with its principal place
   3 of business located at 6 Ram Ridge Road, Chestnut Ridge, New York 10977. Par Pharmaceutical Inc.

   4 is a citizen of New York.

   5          46.    Par Pharmaceutical Inc. is a subsidiary of Endo International PLC, a non-party.
   6          47.    Par Pharmaceutical Inc.’s products are distributed throughout the United States,
   7 including California. The company’s distribution center locations include Irvine, California. The

   8 company has three distribution centers in California.

   9          48.    Based on information and belief, Plaintiff has purchased, ingested, and/or has been
  10   exposed to generic Ranitidine-Containing Drugs distributed and sold in California from Par
  11   Pharmaceutical Inc.’s distribution centers.
  12                 4.     Perrigo
  13          49.     Defendant L. Perrigo Co. is a Michigan corporation with its principal place of
  14 business located at 515 Eastern Avenue, Allegan, Michigan 49010. L. Perrigo Co. is a citizen of

  15 Michigan.

  16          50.    Perrigo Research & Development Company is a Michigan corporation with its
  17 principal place of business located at 515 Eastern Avenue, Allegan, Michigan 49010. Perrigo

  18 Research & Development Company is a citizen of Michigan.

  19          51.    L. Perrigo Co. and Perrigo Research & Development Company are subsidiaries of
  20 Perrigo Company, PLC, a non-party.

  21          52.    Perrigo Co. is the largest manufacturer of OTC pharmaceuticals in the United States
  22 and is estimated to hold more than 50 percent of the store brand market.

  23          53.    Based on information and belief, Plaintiff has purchased, ingested and/or has been
  24 exposed to generic Ranitidine-Containing Drugs from customer retail locations in California that sell

  25 products manufactured by Perrigo Co., including CVS and Walgreens.

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   1                  5.      Taro Pharmaceutical
   2          54.      Defendant Taro Pharmaceuticals U.S.A., Inc. is a New York corporation with its
   3 principal place of business located at Three Skyline Drive, Hawthorne, New York 10532. Taro

   4 Pharmaceuticals U.S.A., Inc. is a citizen of New York.

   5          55.     Ranbaxy Inc. is a Texas corporation with its principal place of business located at 2
   6 Independence Way, Princeton, New Jersey 08540. Ranbaxy Inc. is a citizen of Texas and New Jersey.

   7          56.     Sun Pharmaceutical Industries, Inc., f/k/a Ranbaxy Pharmaceuticals Inc., is a
   8 Delaware corporation with is principal place of business located at 2 Independence Way, Princeton,

   9 New Jersey 08540. Sun Pharmaceutical Industries, Inc. is a citizen of Delaware and New Jersey.
  10          57.     Sun Pharmaceutical Industries Ltd., a non-party, is corporation organized and existing
  11 under the laws of India with its principal place of business located at Western Express Highway Sun

  12 House, CTS No 201 B/1 Goregaon East, Mumbai, 400 063 India. Sun Pharmaceutical Industries Ltd.

  13 is a citizen of India.

  14          58.     Taro Pharmaceutical Industries Ltd. is a corporation organized and existing under the
  15 laws of Israel with its principal place of business located at 14 Hakitor Street, Haifa Bay 2624761,

  16 Israel. Taro Pharmaceutical Industries Ltd. is a citizen of Israel.

  17          59.     Taro Pharmaceuticals U.S.A., Inc., Ranbaxy Inc., Sun Pharmaceutical Industries, Inc.
  18 (f/k/a Ranbaxy Pharmaceuticals Inc.), and Sun Pharmaceutical Industries Ltd. are subsidiaries of Taro

  19 Pharmaceutical Industries Ltd., a non-party.

  20          60.     Based on information and belief, Plaintiff has purchased, ingested, and/or has been
  21   exposed to generic Ranitidine-Containing Drugs from customer retail locations in California that sell
  22   products from Taro Pharmaceuticals U.S.A. and other subsidiaries of Taro Pharmaceutical Industries
  23   Ltd.
  24                  6.      Teva
  25          61.      Defendant Teva Pharmaceuticals U.S.A., Inc. is a Delaware corporation with its
  26 principal place of business in Pennsylvania. Actavis Mid Atlantic LLC is a Delaware limited liability

  27 company with its principal place of business located at 1877 Kawai Rd., Lincolnton, North Carolina

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   1 28092. The membership interest of Actavis Mid Atlantic LLC is owned by Teva Pharmaceuticals

   2 U.S.A., Inc., either directly or through an intervening limited liability company. Actavis Mid Atlantic

   3 LLC is a citizen of Delaware and Pennsylvania.

   4          62.     Teva Pharmaceuticals U.S.A., Inc. is a Delaware corporation with its principal place
   5 of business located at 400 1090 Horsham Road, North Wales, Pennsylvania 19454.

   6          63.     Teva Pharmaceuticals U.S.A., Inc. is a citizen of Delaware and Pennsylvania.
   7          64.     Watson Laboratories, Inc. is a Nevada corporation with its principal place of business
   8 located at 400 Interpace Parkway, Building A, Parsippany, New Jersey 07054. Watson Laboratories,

   9 Inc. is a citizen of Nevada and New Jersey.
  10          65.     Teva Pharmaceutical Industries Ltd. is a corporation organized and existing under the
  11 laws of Israel with its principal place of business located at 5 Basel Street, Petach

  12 Tikva, Israel, 4951033. Teva Pharmaceutical Industries Ltd is a citizen of Israel.

  13          66.     Actavis Mid Atlantic LLC, Teva Pharmaceuticals U.S.A., Inc., and Watson
  14 Laboratories, Inc. are subsidiaries of Teva Pharmaceutical Industries Ltd., a non-party.

  15          67.     Teva Pharmaceutical U.S.A., Inc., is the largest manufacturer of generic drugs in the
  16 U.S. It has 130 offices located throughout the U.S., including one in Irvine, California.

  17          68.     Based on information and belief, Plaintiff has purchased, ingested, and/or has been
  18 exposed to generic Ranitidine-Containing Drugs from customer retail locations in California that sell

  19 products manufactured by Teva Pharmaceutical U.S.A., Inc., including CVS and Walgreens.

  20                  7.     Wockhardt
  21          69.      Defendant Wockhardt USA LLC is a Delaware limited liability company with its
  22 principal place of business located at 20 Waterview Boulevard, Parsippany, New Jersey 07054. Upon

  23 information and belief, the sole member of Wokhardt USA LLC is Wockhardt USA, Inc., a Delaware

  24 corporation with its principal place of business in New Jersey. Wockhardt USA LLC is a citizen of

  25 Delaware and New Jersey.

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   1          70.    Wockhardt USA, Inc. is a Delaware corporation with its principal place of business
   2 located at 135 Route 202/206, Bedminster, New Jersey 07921. Wockhardt USA, Inc. is a citizen of

   3 Delaware and New Jersey.

   4          71.    Wockhardt, Ltd. is a corporation organized and existing under the laws of India with
   5 its principal place of business located at Wockhardt Towers, Bandra Kurla Complex, Bandra (East),

   6 Mumbai 400051, Maharashtra, India. Wockhardt, Ltd. is a citizen of India.

   7          72.    Wockhardt USA LLC and Wockhardt USA, Inc. are subsidiaries of Wockhardt, Ltd.
   8          73.    Wockhardt USA LLC distributes its products throughout the United States. Based on
   9 information and belief, Plaintiff has purchased, ingested, and/or has been exposed to generic
  10 Ranitidine-Containing Drugs distributed by Wockhardt USA LLC in California.

  11                 8.      Zydus-Cadila
  12          74.      Defendant Zydus Pharmaceuticals (USA) Inc. is a New Jersey corporation with its
  13 principal place of business located at 73 Route 31 North, Pennington, New Jersey 08534. Zydus

  14 Pharmaceuticals (USA) Inc. is a citizen of New Jersey.

  15          75.    Cadila Healthcare Ltd. is a corporation organized and existing under the laws of India
  16 with its principal place of business located at Zydus Tower, Satellite Crossroads, Sarkhej-

  17 Gandhinagar Highway, Amedabad 380 015, India. Cadila Healthcare Ltd. is a citizen of India.

  18          76.    Zydus Pharmaceuticals (USA) Inc. is a subsidiary of Cadila Healthcare Ltd. These
  19 entities operate under the trade name of, and shall be referred to as, “Zydus-Cadilla.”

  20          77.    Zydus Pharmaceuticals (USA) Inc distributes its products throughout the United
  21 States. Based on information and belief, Plaintiff has purchased, ingested, and/or has been exposed

  22 to generic Ranitidine-Containing Drugs manufactured and distributed by Zydus Pharmaceuticals in

  23 California.

  24          D.     Retailers Defendants
  25                 1.    CVS
              78.    Defendant CVS Pharmacy, Inc. (“CVS”) is a Delaware corporation with its principal
  26

  27 places of business located at One CVS Drive, Woonsocket, Rhode Island 02895. Defendant CVS is

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       a citizen of Delaware and Rhode Island.
   1

   2          79.     In 2015, CVS Health Corporation acquired Target Corporation’s pharmacies and

   3 clinics. CVS defined herein includes any current or former Target Corporation pharmacy.

   4          80.     On November 28, 2018, CVS Health completed the acquisition of Aetna.
   5
              81.    CVS/pharmacy acquired Longs Drugs Stores Corporation in 2008. Longs Drug
   6
       Stores Corporation was incorporated in Maryland on May 24, 1985 as successor to Longs Stores.
   7
       Longs Stores was incorporated in 1946 in California, and its principal place of business was 141
   8

   9 North Civic Drive, Walnut Creek, California 94596.
  10          82.     Longs Drugs Stores Corporation’s principal subsidiaries were Longs Drugs Stores

  11 California, Inc. and RXAmerica, LLC.

  12          83.     RXAmerica, LLC provides pharmacy benefit management services. CVS acquired
  13
       RxAmerica, LLC on October 20, 2008.
  14
              84.     At all relevant times, Plaintiff regularly purchased and ingested Ranitidine-Containing
  15
       Drugs from CVS and Longs Drugs Stores locations in California, including stores in Los Angeles.
  16

  17                  2.     Kroger
  18          85.     Defendant the Kroger Co. is an Ohio corporation with its principal place of business
  19 located at 1014 Vine Street, Cincinnati, Ohio 45202. The Kroger Co. is a citizen of Ohio.

  20          86.     Smith’s Food and Drug Centers, Inc. is an Ohio corporation with its principal place of
  21 business located at 1014 Vine Street, Cincinnati, Ohio 45202. Smith’s Food and Drug Centers, Inc.

  22 is a citizen of Ohio.

  23          87.     Fred Meyer Stores, Inc. is an Ohio corporation with its principal place of business
  24 located at 3800 SE 22nd Avenue, Portland, Oregon 97202. Fred Meyer Stores, Inc. is a citizen of

  25 Ohio and Oregon.

  26          88.     Smith’s Food and Drug Centers, Inc. and Fred Meyer Stores, Inc. are subsidiaries of
  27 the Kroger Co.

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              89.     At all relevant times, Plaintiff purchased and ingested, or was otherwise exposed, to
   1

   2 Ranitidine-Containing Drugs from Kroger Co. and/or its subsidiaries’ locations in California,

   3 including stores in Los Angeles.

   4
                      3.        Walgreens
   5

   6          90.     Defendant Walgreen Co. is a Delaware corporation with its principal place of business

   7 located at 108 Wilmot Road, Deerfield, Illinois 60015. Walgreen Co. is a citizen of Delaware and

   8 Illinois.

   9          91.     Defendant Duane Reade, Inc. is a Delaware corporation with its principal place of
  10
       business located at 108 Wilmot Road, Deerfield, Illinois 60015. Duane Reade, Inc. is a citizen of
  11
       Delaware and Illinois.
  12
              92.     Defendant Walgreens Boots Alliance, Inc. is a Delaware corporation with its principal
  13

  14 place of business located at 108 Wilmot Road, Deerfield, Illinois 60015. Walgreens Boots Alliance

  15 is a citizen of Delaware and Illinois.

  16          93.     Walgreen Co. and Duane Reade, Inc. are subsidiaries of Walgreens Boots Alliance.
  17
              94.     Plaintiff purchased and ingested Ranitidine-Containing Drugs from Walgreen Co.
  18
       and/or its subsidiaries in California, including stores in Los Angeles at all relevant times.
  19
                      4.        Walmart
  20
              95.     Defendant Walmart Inc. f/k/a Wal-Mart Stores, Inc. is a Delaware corporation with its
  21

  22   principal place of business located at 702 SW 8th Street, Bentonville, Arkansas 72716. Walmart Inc.

  23   is a citizen of Delaware and Arkansas.
  24          96.     At all relevant times, Plaintiff purchased and ingested Ranitidine-Containing Drugs
  25
       from pharmacies at Walmart locations in California, including stores in Los Angeles.
  26

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                     5.      Albertson’s
   1

   2          97.    Defendant Albertson’s Companies, Inc. is a Delaware corporation with its principal
   3   place of business located at 132 E. Lake Street, McCall, Idaho 83638. Albertson’s is a citizen of
   4   Delaware and Idaho.
   5          98.     Safeway, Inc. is a Delaware corporation with its principal place of business located at
   6   5918 Stoneridge Mall Road, Pleasanton, California 94588. Safeway, Inc. is a citizen of Delaware
   7   and California.
   8          99.    Safeway, Inc. is a subsidiary of Albertson’s.
   9          100.   At all relevant times, Plaintiff purchased, purchased, ingested, or was otherwise
  10 exposed to Ranitidine-Containing Drugs from Albertson’s or Safeway locations in California,

  11 including stores in Los Angeles.

  12
                     6.      Rite Aid
  13
              101.   Defendant Rite Aid Corporation (“Rite Aid”) is a Delaware corporation with its
  14
       principal place of business located at 30 Hunter Lane, Camp Hill, Pennsylvania 17011. Rite Aid is a
  15

  16 citizen of Delaware and Pennsylvania.

  17          102.   At all relevant times, Plaintiff purchased, ingested, or was otherwise exposed to

  18 Ranitidine-Containing Drugs from Rite Aid locations in California, including stores in Los Angeles.

  19
              103.   The true names or capacities, whether individual, corporate, associate or otherwise of
  20
       defendants, DOES 1 through 10, inclusive, are unknown to Plaintiff who therefore sues said DOE
  21
       defendants by such fictitious names.
  22
              104.   Plaintiff is informed and believes, and thereon alleges that each of the defendants
  23

  24 designated herein as a DOE is responsible for the unlawful acts as herein alleged, and Plaintiff will

  25 request leave of the Court to amend this complaint to show its true names and capacities when the

  26 same have been ascertained.

  27
              105.   Plaintiff is informed and believes, and thereon alleges that at all times herein
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       mentioned, Defendants, and each of them, were the agents, servants, and employees each of the
   1

   2 other, acting within the course and scope of said agency and employment, with the full knowledge

   3 and consent of each of the Defendants. Each of the acts and/or omissions alleged herein were made

   4 known to and ratified by each of the Defendants (including any DOE defendant).

   5
              106.    Defendant and each and every DOE Defendant shall be referred to collectively as
   6
       “Defendants” hereafter.
   7

   8 III.     JURISDICTION AND VENUE

   9          107.    This Court has jurisdiction over all causes of action asserted herein, and the amount

  10 in controversy exceeds the jurisdictional minimum of this Court.

  11          108.    Defendants caused tortious injury by acts and omissions in this judicial jurisdiction

  12 and caused tortious injury in this jurisdiction by acts and omissions outside this jurisdiction while

  13 regularly doing and soliciting business, engaging in a persistent course of conduct, and deriving

  14 substantial revenue from goods used or consumed and services rendered in this jurisdiction.

  15          109.    Defendants, and each of them, are subject to the jurisdiction of this Court by virtue of

  16 their dealings and transactions in Los Angeles County and by having caused injuries through their

  17 acts and omissions within this County to render the exercise of jurisdiction by this Court permissible

  18 under traditional notions of fair play and substantial justice.

  19          110.    Venue is proper in this Court because the injury and damage to Plaintiff occurred

  20 within Los Angeles County. California Code of Civ. Proc. § 395(a).

  21          111.    Plaintiff seeks relief that is in the jurisdictional limits of the Court.

  22 IV.      FACTUAL BACKGROUND

  23          A.      Brief History of Ranitidine and Zantac

  24          112.    Scientist John Bradshaw originally discovered and developed Zantac (ranitidine) on

  25 behalf of GSK in 1976.

  26          113.    Zantac has been sold to consumers since the early 1980’s, first by prescription and

  27 later as an over-the-counter (“OTC”) medication.

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   1          114.    The drug is in a class of medications called histamine H2-receptor antagonists (or H2
   2 blockers). H2 blockers decrease the amount of acid produced by cells in the lining of the stomach.

   3          115.    Cimetidine (Tagamet), discovered and developed by Smith, Kline and French2, was
   4 the first H2 blocker to be developed and is the prototypical histamine H2 receptor antagonist. The

   5 later members of the class were developed from Tagamet. Specifically, Zantac was developed by

   6 GSK in response to the success of cimetidine.

   7          116.    In 1983, the FDA approved the sale of prescription Zantac, (NDA 18-703), and Zantac
   8 quickly became one of GSK's most successful products. Zantac was the first prescription drug in

   9 history to reach $1 billion in sales.
  10          117.    Beginning in 1995, the FDA approved the sale of various forms of OTC Zantac.
  11          118.    GSK’s patent on the original prescription Zantac product expired in 1997, allowing
  12 generic manufacturers to sell prescription ranitidine to consumers.

  13          119.    The FDA approved numerous generic manufacturers for the sale of prescription and
  14 OTC ranitidine.

  15          120.    Even after the entry of generic competition, brand name manufacturers continued to
  16 sell prescription and OTC Zantac.

  17          121.    The joint venture between GSK and Warner-Lambert ended in 1998, with Warner-
  18 Lambert retaining control over the sale of OTC Zantac in the United States and GSK retaining control

  19 over the sale of prescription Zantac in the United States.

  20          122.    Pfizer acquired Warner-Lambert in 2000 and took control of the sale of OTC Zantac
  21 in the United States.

  22          123.    The right to sell OTC Zantac in the United States later passed to Defendant Boehringer
  23 Ingelheim Pharmaceuticals and then to Sanofi.

  24          124.    In 2017, Boehringer Ingelheim sold the rights to OTC Zantac to Sanofi pursuant to a
  25 Sales Purchase Agreement. As part of this deal, Sanofi obtained control and responsibility over

  26 Boehringer Ingelheim’s entire consumer healthcare business, including the OTC Zantac NDAs.

  27 However, Boehringer Ingelheim continued to manufacture all drugs subject to the SPA, including

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   1 Zantac.

   2           125.    When GSK’s and Pfizer’s patent on the original OTC Zantac product expired, generic
   3 manufacturers could sell OTC ranitidine to consumers.

   4           126.    Sanofi controlled the NDAs for OTC Zantac and marketed, distributed, and sold
   5 Zantac in the United States from January 2017, until the FDA issued a recall in 2019.

   6           B.      The FDA Recall
   7           127.    On April 1, 2020, the FDA requested the voluntary withdrawal of all Ranitidine-
   8 Containing Drugs from the market after it began reviewing the safety of ranitidine, with specific

   9 focus on the presence of NDMA.
  10           C.      The Dangers of NDMA
  11           128.    The U.S. Department of Health and Human Services (“DHHS”) that NDMA is
  12 reasonably anticipated to be a human carcinogen. 1

  13           129.    The high levels of NDMA produced by Zantac are inherent to the molecular structure
  14 of ranitidine, the active ingredient in Zantac. The ranitidine molecule contains both a nitrite and DMA

  15 group which are well known to combine to form NDMA. Ranitidine produces NDMA by “react[ing]

  16 with itself,” such that every dosage of ranitidine exposes consumers to NDMA.

  17           130.    According to the U.S. Environmental Protection Agency (“EPA”), “NDMA is a
  18 semivolatile organic chemical that forms in both industrial and natural processes[.]” 2 It is one of the

  19 simplest members of a class of N-nitrosamines, a family of potent carcinogens. Scientists have long

  20 recognized the dangers that NDMA poses to human health.

  21           131.    Both the EPA and the IARC classify NDMA as a probable human carcinogen. 3
  22 Further, in 1978, IARC stated that NDMA “should be regarded for practical purposes as if it were

  23

  24

  25           1
                 U.S. Envtl Prot. Agency, Technical Fact Sheet – N-Nitroso-dimethylamine (NDMA) (Nov. 2017),
       https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf.
  26
               2
              Id.
  27          Id.; International Agency for Research on Cancer (IARC) - Summaries & Evaluations, N-
               3

       NITROSODIMETHYLAMINE (1978), http://www.inchem.org/documents/iarc/vol17/n-nitrosodimethylamine.html.
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   1 carcinogenic to humans.” 4

   2           132.      The World Health Organization states that there is “conclusive evidence that NDMA
   3 is a potent carcinogen” and that there is “clear evidence of carcinogenicity.” 5

   4           D.        How Ranitidine Transforms into NDMA Within the Human Body
   5           133.      The ranitidine molecule itself contains the constituent molecules to form NDMA.
   6           134.      Specifically, the O=N (Nitroso) on one side of the ranitidine molecule can combine
   7 with the H3C-N-CH3 (DMA) on the other side to form NDMA.

   8           135.      The formation of NDMA by the reaction of DMA and a nitroso source (such as a
   9 nitrite) is well characterized in the scientific literature and has been identified as a concern for
  10 contamination of the U.S. water supply. In 2003, alarming levels of NDMA in drinking water

  11 processed by wastewater treatment plants was specifically linked to the presence of ranitidine.

  12           136.      Ranitidine leads to NDMA exposure in four ways: (a) formation of NDMA in the
  13 human digestive system; (b) formation of NDMA due to an enzymatic reaction throughout the human

  14 body; (c) formation of NDMA over time under normal storage conditions and that increases

  15 significantly when exposed to heat; and (d) formation of NDMA during manufacture.

  16                     1.      NDMA Forms in The Human Stomach
  17           137.      When the ranitidine molecule is exposed to the acidic environment of the stomach,
  18 particularly when accompanied by nitrites (a chemical commonly found in heartburn-inducing

  19 foods), the Nitroso molecule (O=N) and the DMA molecule (H3C-N-CH3) break off and reform as

  20 NDMA.

  21           138.      In 1981, two years before the FDA approved Zantac, Dr. Silvio de Flora published the
  22 results of experiments he conducted on ranitidine in the well-known journal, The Lancet. When

  23 ranitidine was exposed to human gastric fluid in combination with nitrites, his experiment showed

  24

  25
               4
                   IARC, Monographs on the Evaluation of the Carcinogenic Risk of Chemicals to Humans, Some N-Nitroso
  26 Compounds, Vol. 17, 151-152 (May 1978) (Emphasis added.).
               5
                   WHO, Guidelines for Drinking-Water Quality, N-Nitrosodimethylamine (NDMA) (3d ed. 2008),
  27 https://www.who.int/water_sanitation_health/dwq/chemicals/ndmasummary_2ndadd.pdf. (Emphasis added.).

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   1 “toxic and mutagenic effects[.]” 6 Dr. Flora formed the hypothesis that these mutagenic effects could

   2 have been caused by the “formation of more than one nitroso derivative [which includes NDMA]

   3 under our experimental conditions.” Id. Dr. Flora cautioned that, concerning ranitidine ingestion, “it

   4 would seem prudent to ... suggest[] a diet low in nitrates and nitrites, by asking patients not to take

   5 these at times close to (or with) meals[.]” Id.

   6          139.     Notwithstanding Dr. Flora’s findings in 1981, GSK told the FDA in the early 1980’s
   7 that the nitrite would not likely be formed in the stomach because an unrealistically large amount of

   8 the nitrate needs to be present to form and maintain the nitrosamine. GSK even applied for and

   9 obtained an indication for OTC Zantac “[f]or the prevention of meal-induced heartburn at a dose of
  10 75 mg taken 30 to 60 minutes prior to a meal.”

  11          140.     Additionally, before Zantac was approved by the FDA, GSK admitted to the FDA that
  12 its own studies evidenced that ranitidine use caused the proliferation of bacteria in the human stomach

  13 known to convert nitrates to nitrites and elevated levels of nitrite in the stomach. While GSK did

  14 acknowledge that this could increase the risk of developing cancer, the risk was dismissed based on

  15 assumptions about human eating habits at that time.

  16          141.     Summarily, GSK knew—before Zantac hit the market —that ranitidine could react
  17 with nitrite in the human stomach to form NDMA, and that long-term use of ranitidine could result

  18 in elevated levels of nitrite in the human stomach.

  19          142.     In response to Dr. Flora's findings, GSK conducted a clinical study in 1982
  20 (republished in 1987) that purportedly tested for NDMA.                   However, the gold-standard mass
  21 spectrometry to test for NDMA was not utilized to support GSK’s findings. Instead, GSK used a

  22 process that inefficiently measured N-nitrosamines. Even more telling, GSK failed to test the gastric

  23 samples that included ranitidine in them.

  24          143.     In 1983, Dr. Flora, along with four other researchers, published their complete findings
  25

  26
              6
                  Silvio de Flora, Cimetidine, Ranitidine and Their Mutagenic Nitroso Derivatives, 318 THE LANCET 8253,
  27 993¬94 (Oct. 31, 1981).

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   1 regarding the genotoxicity of ranitidine. 7 Dr. Flora’s team “confirm[ed] our preliminary findings on

   2 the formation of genotoxic derivatives from nitrite and ranitidine[,]" emphasizing "the widespread

   3 clinical use [of ranitidine] and the possibility of a long-term maintenance therapy suggest the prudent

   4 adoption of some simple measures, such as a diet low in nitrates and nitrites or the prescription of

   5 these anti-ulcer drugs at a suitable interval from meals." Id.

   6           144.    The high instability of the ranitidine molecule was elucidated in multiple scientific
   7 studies investigating ranitidine as a source of NDMA in drinking water and specific mechanisms for

   8 the breakdown of ranitidine were proposed. 8 These studies underscore the instability of the NDMA

   9 group on the ranitidine molecule and its ability to form NDMA in the environment of water treatment
  10 plants which supply many American cities with water.

  11           145.    In 2016, researchers at Stanford University conducted an experiment by measuring the
  12 NDMA in urine of healthy individuals over the course of 24 hours and administering one dose of

  13 ranitidine, then measuring the NDMA in the urine of the same volunteers for another 24 hours. 9 The

  14 study found that the level of NDMA generally increased by a staggering 400 times.

  15           146.    The Stanford study clearly proved that unsafe levels of NDMA are formed in the
  16 human body as a result of ranitidine ingestion.

  17           147.    On September 9, 2019, Valisure LLC and ValisureRX LLC, a pharmacy and testing
  18 laboratory, filed a Citizen Petition calling for the recall of all Ranitidine-Containing Drugs due to

  19 scientific studies demonstrating that ranitidine can transform into the cancer-causing NDMA.

  20           148.    The results of Valisure's testing show levels of NDMA well above 2 million ng per
  21 150 mg Zantac tablet, as shown below in Table 1.

  22

  23

  24

  25
               7
                  Silvio de Flora, et al., Genotoxicity of nitrosated ranitidine, 4 CARCINOGENESIS 3, 255-60 (1983).
  26           8
                  Le Roux, et al., NDMA Formation by Chloramination of Ranitidine: Kinetics and Mechanism, 46 Environ.
       Sci. Technol 20, 11095-103 (2012).
  27            9
                    Zeng, et al., Oral intake of ranitidine increases urinary excretion of N-nitrosodimethylamine, 37
       CARCINOGENESIS 625-34 (2016).
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   1     Table 1 — Ranitidine Samples Tested by Valisure Laboratory Using GC/MS Protocol
   2
         150 mg Tablets or equivalent                 Lot #                NDMA per tablet (ng)
   3
         Reference Powder*                            125619               2,472,531
   4
         Zantac, Brand OTC                            18M498M              2,511,469
   5
         Zantac (mint), Brand OTC                     18H546               2,834,798
   6
         Wal-Zan, Walgreens                           79L80081 9A          2,444,046
   7
         Wal-Zan (mint), Walgreens                    8ME2640              2,635,006
   8
         Ranitidine, CVS                              9BE2773              2,520,311
   9     Zantac (mint), CVS                           9AE2864              3,267,968
  10     Ranitidine, Equate                           9BE2772              2,479,872
  11     Ranitidine (mint), Equate                    8ME2642              2,805,259

  12     Ranitidine, Strides                          77024060A            2,951,649

  13          149.    Valisure's testing shows, on average, 2,692,291 ng of NDMA in one 150 mg Zantac
  14 tablet. Considering the FDA's permissible limit is 96 ng, this would put the level of NDMA at 28,000

  15 times the legal limit. Smoking at least 6,200 cigarettes achieves the same levels of NDMA found in

  16 one 150 mg dose of Zantac.

  17          150.    On September 26, 2019, Walgreens, Walmart, Rite-Aid, and Apotex Corp.—makers
  18 of generic OTC ranitidine—voluntarily recalled all Ranitidine-Containing Drugs and removed the

  19 drugs from the shelves.

  20          151.    On September 28, 2019, CVS Health Corp. announced that it would terminate the sale
  21 of Zantac and its own generic Ranitidine-Containing Drugs due to concerns that it might contain a

  22 carcinogen.

  23          152.    Sanofi voluntarily recalled all brand-name OTC Zantac on October 18, 2019.
  24          153.    The results of Valisure's tests on ranitidine tablets in biologically relevant conditions
  25 illustrate significant NDMA formation under simulated gastric conditions with nitrite present.

  26          154.    Under biologically relevant conditions, when nitrites are present, high levels of
  27 NDMA are found in one dose of 150 mg Zantac, ranging between 245 and 3,100 times above the

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   1 FDA’s permissible limit. One would need to smoke over 500 cigarettes to achieve the same levels of

   2 NDMA found in one dose of 150 mg Zantac at the 25 nanogram level (over 7,000 for the 50 nanogram

   3 level).

   4           155.   Assessed overall, the scientific data in literature demonstrates that the ingestion of
   5 ranitidine in the presence of human-relevant levels of nitrite in the stomach—a substance that is

   6 commonly found in foods that induce heartburn and that is known to be elevated in people taking

   7 ranitidine for longer than a month—the ranitidine molecule breaks down into levels of NDMA that

   8 would dramatically increase a person's risk of developing cancer

   9                  2.     Formation of NDMA in the Other Organs of Human Body
  10           156.   Valisure’s findings also identified a possible enzymatic mechanism for the liberation
  11 of ranitidine's DMA group via the human enzyme dimethylarginine dimethylaminohydrolase

  12 ("DDAH"), which can occur in other tissues and organs separate from the stomach.

  13           157.   Computational modelling demonstrates that ranitidine can readily bind to the DDAH-
  14 1enzyme in a manner comparable to the natural substrate of DDAH-1 known as asymmetric

  15 dimethylarginine.

  16           158.   This is an indicator that the enzyme DDAH-1 increases formation of NDMA in the
  17 human body when ranitidine is present; therefore, the expression of the DDAH-1 gene is useful for

  18 identifying organs most susceptible to this action.

  19           159.   While DDAH-1 is most strongly expressed in the kidneys, it is broadly distributed
  20 throughout the body, including the liver, prostate, stomach, bladder, brain, colon, and prostate. This

  21 distribution offers both a general mechanism for NDMA formation in the human body from ranitidine

  22 and specifically causes concern for NDMA’s effects on numerous organs, such as the bladder.

  23           160.   The possible enzymatic reaction of ranitidine to DDAH-1, or other enzymes, suggests
  24 that high levels of NDMA can form throughout the human body - ranitidine metabolizes and circulates

  25 throughout the human body, crossing the placental and blood-brain barrier, within 1-2 hours. When

  26 the ranitidine interacts with the DDAH-1 enzyme in various organs throughout the body, it breaks

  27 down into NDMA, as validated by the Stanford Study.

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   1                  3.      Formation of NDMA by Exposure to Heat and/or Time
   2          161.    As indicated in Valisure’s September 2019 Citizen Petition to the FDA, the risk of
   3 creating NDMA by exposing ranitidine to heat is generally known and documented in the scientific

   4 community from the early 1980's.

   5          162.    In response to Valisure’s Petition, on October 2, 2019, the FDA recommended that
   6 researchers use the LC-HRMS protocol for detecting NDMA in ranitidine because the

   7 contemporaneous "testing method does not use elevated temperatures" and has been proven capable

   8 of detecting NDMA.

   9          163.    In or about early 2020, Emery Pharma ran a series of tests on ranitidine using the FDA-
  10 recommended LC-HRMS protocol. During these tests, the researchers exposed ranitidine to 70 °C at

  11 different periods of time. The results showed that increasing levels of NDMA formed based on

  12 exposure to heat. The researchers cautioned (emphasis added):

  13          NDMA accumulates in ranitidine-containing drug products on exposure to elevated
              temperatures, which would be routinely reached during shipment and during storage.
  14          More importantly, these conditions occur post-lot release by the manufacturer. Hence, while
              NDMA levels in ranitidine may be acceptable at the source, they may not be so when
  15          the drug is purchased and subsequently at the time of consumption by the consumer.
  16
              164.    Given these facts, in conjunction with the historical data from the 1980s, it is evident
  17
       that during normal transport and storage, and especially when exposed to heat, the ranitidine molecule
  18
       systematically breaks down into cancer causing NDMA, accumulating over time in the finished
  19
       product.
  20
              165.    Considering ranitidine-containing products have an approved shelf life of 36 months,
  21
       the possibility, and even likelihood, of the drug accumulating dangerously high levels of NDMA prior
  22
       to consumption is unreasonably high.
  23
                      4.      Ranitidine Exposure Is Directly Linked to Cancer
  24
              166.    In addition to studies examining how NDMA causes cancer in humans, researchers
  25
       have also specifically linked ranitidine with cancer.
  26
              167.    One epidemiology study, published in 2004, showed that men taking either ranitidine
  27

  28
                                                    COMPLAINT
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   1 or cimetidine (Tagamet) experienced increased risks of bladder cancer. 10

   2             168.   In another comprehensive epidemiological study that examined various cancer risks
   3 and H2 blockers, including ranitidine, the data showed that ranitidine consumption increased the risk

   4 of prostate, lung, esophageal, pancreatic, and kidney cancer. Notably, the study also indicated that

   5 people under the age of 60 that took ranitidine were five times more likely to contract prostate cancer.

   6             169.   A study published in 2018 demonstrated an increased risk of liver cancer associated
   7 with use of ranitidine in comparison with other histamine type 2 receptor antagonists (H2RAs) in the

   8 class. 11

   9             170.   Another study in 2018 found an increased risk in hepatocellular carcinoma associated
  10 with use of H2RAs. 12 The authors evaluated the risk of cancer in association with proton pump

  11 inhibitors and looked at H2RAs as a confounder. Even narrowed to consideration of use of H2RAs

  12 within one year of cancer diagnosis, the study showed an increased odds ratio associated with use of

  13 H2RAs and hepatocellular carcinoma, a type of liver cancer.

  14             E.     Defendants Knew or Should Have Known of the NDMA Risk
  15             171.   Between 2014 and 2017, when Plaintiff purchased and ingested Ranitidine-Containing
  16 Drugs, Defendants knew or should have known that the weight of scientific evidence showed that

  17 Ranitidine-Containing Drugs exposed consumers to dangerous levels of NDMA.

  18             172.   Defendants failed to disclose this risk to consumers on the drug’s label—or through
  19 any other means—and Defendants failed to report these risks to the FDA.

  20             173.   As early as 1981, scientific research was available that evidenced elevated rates of
  21 NDMA. This was known or should have been known by the Defendants when they began marketing,

  22 promoting, labelling, and selling Ranitidine-Containing Drugs.

  23             174.   Defendants concealed the dangerous hazards of ingesting Zantac and Ranitidine-
  24

  25             10
                   D. Michaud, et al, Peptic Ulcer Disease and the Risk of Bladder Cancer in a Prospective Study of Male Health
       Professionals, 13 CANCER EPI. BIOMARK. & PREV. 250-54, 252 (Feb. 2004).
  26            11
                   Kim Tu Tran„ et al., Proton pump inhibitor and histamine-2 receptor antagonist use and risk of liver cancer
       in two population-based studies, 48 ALIMENTARY PHARMA & THERAP 1, 55-64 (2018).
  27            12
                   Shao, Y-HJ, et al., Association between proton pump inhibitors and the risk of hepatocellular carcinoma, 48
       ALIMENTARY PHARMA & THERAP 4, 460-68 (2018).
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   1 Containing Drugs from consumers by neglecting to report it to the FDA, which in turn relies on

   2 manufacturers (and testing laboratories) to bring new information about approved drugs.

   3          175.    Manufacturers of an approved drug are required by regulations to submit an annual
   4 report to the FDA containing, among other things, new information regarding the drug’s safety

   5 pursuant to 21 C.F.R. § 314.81(b)(2):

   6          The report is required to contain . . . [a] brief summary of significant new information from
              the previous year that might affect the safety, effectiveness, or labeling of the drug product.
   7          The report is also required to contain a brief description of actions the applicant has taken or
              intends to take as a result of this new information, for example, submit a labeling
   8          supplement, add a warning to the labeling, or initiate a new study.
   9          176.    21 C.F.R. § 314.81(b)(2)(v) provides:
  10          The manufacturer’s annual report also must contain copies of unpublished reports and
              summaries of published reports of new toxicological findings in animal studies and in vitro
  11          studies (e.g., mutagenicity) conducted by, or otherwise obtained by, the [manufacturer]
              concerning the ingredients in the drug product.
  12

  13          177.    Defendants ignored these regulations and, disregarding the scientific evidence
  14 available to them, did not report to the FDA significant new information affecting the safety or

  15 labeling of Ranitidine-Containing Drugs.

  16          178.    Knowledge regarding the risk of NDMA in ranitidine was sufficiently accessible in
  17 publicly available scientific literature that any maker or distributor, consistent with their heightened

  18 obligations to ensure the safety of their products, should have known about the potential NDMA risks

  19 associated with ranitidine consumption.

  20          179.    Defendants failed to warn the public and failed to conduct and/or publish and share
  21 relevant studies or testing with the FDA and scientific community concerning the link between

  22 NDMA and Ranitidine-Containing Drugs.

  23          180.    Defendants also knew that they are required by federal law to store, warehouse, and
  24 distribute pharmaceutical drugs in accordance with current “Good Manufacturing Practices”

  25 (“GMPs”) to ensure they meet safety, quality, purity, identity, and strength standards. See 21 U.S.C.

  26 § 351(a)(2)(B).

  27          181.    21 C.F.R. § 211.142(b) states that the GMPs required that warehousing of drug
  28
                                                   COMPLAINT
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   1 products shall be performed to ensure “[s]torage of drug products under appropriate conditions of

   2 temperature, humidity, and light so that the identity, strength, quality, and purity of the drug products

   3 are not affected.” Stated differently, Defendants had a duty and were obligated to safely store, handle,

   4 and warehouse Ranitidine-Containing Drugs.

   5           182.     The FDA’s own testing demonstrated the following rudimentary facts that would have
   6 helped reduce the hazards of Ranitidine-Containing Drugs had Defendants invested their profits into

   7 testing and research: (a) improper storage of Ranitidine-Containing Drugs has resulted in extremely

   8 high levels of NDMA; (b) NDMA can increase in Ranitidine-Containing Drugs even under normal

   9 storage conditions; (c) NDMA has been found to increase significantly in samples stored at higher
  10 temperatures, including temperatures the product may be exposed to during distribution and handling

  11 by consumers; and (d) Ranitidine-Containing Drugs age the level of NDMA in the product increases.

  12           183.     Based on these facts, other findings, and scientific research, the FDA concluded that
  13 these defects raised the level of NDMA in Ranitidine-Containing Drugs well above the safe daily

  14 intake limit to the point that Ranitidine-Containing Drugs had to be banned as of April 2020.

  15           184.     As early as 1980, consumer products containing unsafe levels of NDMA and other
  16 nitrosamines have been recalled by manufacturers, either voluntarily or at the direction of the FDA.

  17           185.     A 1979 news article noted that “NDMA has caused cancer in nearly every laboratory
  18 animal tested so far.” 13

  19           186.     In 1981, Dr. Silvio de Flora published the results of his experiments showing that
  20 ranitidine was converting into mutagenic N-nitroso compounds, of which NDMA is one, in human

  21 gastric fluid when accompanied by nitrites – a substance commonly found in food and in the body,

  22 including foods that consumers were informed that they could consume shortly before or after

  23

  24           13
                   Jane Brody, Bottoms Up: Alcohol in Moderation Can Extend Life, GLOBE & MAIL (CANADA), Oct. 11,
       1979 (emphasis added); see Rudy Platiel, Anger Grows as Officials Unable to Trace Poison in Reserve’s Water, GLOBE
  25   & MAIL (CANADA), Jan. 6, 1990 (reporting that residents of Six Nations Indian Reserve “have been advised not to
       drink, cook or wash in the water because testing has found high levels of N-nitrosodimethylamine (NDMA), an industrial
  26   byproduct chemical that has been linked to cancer”); S.A. Kyrtopoulos, DNA Adducts in Humans after Exposure to
       Methylating Agents, 405 MUTATION RES. 2, 135 (1998) (noting that “chronic exposure of rats to very low doses of
  27   NDMA gives rise predominantly to liver tumors, including tumors of the liver cells (hepatocellular carcinomas), bile
       ducts, blood vessels and Kupffer cells”).
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                                                          COMPLAINT
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   1 ingesting ranitidine. 14

   2           187.      In a 2011 epidemiological study looking at NDMA dietary exposure with 3,268 cases
   3 and a follow up of 11.4 years, researchers concluded that “[d]ietary NDMA intake was significantly

   4 associated with increased cancer risk in men and women.” 15

   5           188.      At all relevant times, Defendants failed to disclose to Plaintiff or her physicians the
   6 scientific link between ranitidine and NDMA. More generally, Defendants also failed to disclose the

   7 scientific link to prescribing physicians of Ranitidine-Containing Drugs or the FDA.

   8           F.        Equitable Tolling
   9           189.      The nature of Plaintiff’s injuries in relation to Defendants’ conduct was not
  10 discovered, and through reasonable care and due diligence, could not have been discovered, until a

  11 date within the applicable statute of limitations for filing Plaintiff’s claims.

  12           190.      Within the period of any applicable statutes of limitation, Plaintiff was unaware and
  13 could not have discovered through the exercise of reasonable diligence that Defendants were not

  14 disclosing the dangerous levels of the carcinogen NDMA produced by Ranitidine-Containing

  15 Drugs, including Zantac.

  16           191.      Plaintiff asserts all applicable statutory and common law rights and theories related
  17 to the tolling or extension of any applicable statute of limitations, including equitable tolling,

  18 delayed discovery, discovery rules, and/or fraudulent concealment.

  19           192.      At all relevant times, Defendants knowingly, affirmatively, and actively concealed or
  20 recklessly disregarded the true risks of NDMA exposure associated with Ranitidine-Containing

  21 Drugs, including Zantac, and never disclosed this risk to the FDA or the consuming public.

  22           193.      Based on the foregoing, Defendants are estopped from relying on any statutes of
  23 limitations or repose that might otherwise be applicable to Plaintiff’s claims.

  24

  25
               14
                    Silvio de Flora, Cimetidine, Ranitidine and Their Mutagenic Nitroso Derivatives, 318 LANCET 8253, 993-
  26 94 (Oct. 31, 1981).
               15
                    Yet Hua Loh et al., N-nitroso Compounds and Cancer Incidence: The European Prospective Investigation
  27 into Cancer and Nutrition (EPIC)-Norfolk Study, 93 AM. J. CLINICAL NUTRITION 5, 1053-61 (May 2011).

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                                                          COMPLAINT
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   1 V.      CAUSES OF ACTION
   2
                                         FIRST CAUSE OF ACTION
   3                              STRICT LIABILITY – DESIGN DEFECT
   4                                   (AGAINST ALL DEFENDANTS)
   5         194.    Plaintiff hereby incorporates by reference the allegations contained in the preceding
   6   paragraphs of this Complaint as if fully stated herein.
   7         195.    At all relevant times, Defendants have been in the business of designing,
   8   manufacturing, labeling, marketing and promoting, selling, inspecting, handling, storing and
   9   distributing defective Ranitidine-Containing Drugs to consumers.
  10         196.    At all relevant times, Defendants’ Ranitidine-Containing Drugs have contained
  11   unreasonably dangerous design defects, including, but not limited to, grave risks that may follow the
  12   foreseeable use of Ranitidine-Containing Drugs.
  13         197.    At all relevant times, Defendants had a duty to ensure that Ranitidine-Containing
  14   Drugs did not pose unreasonable and dangerous risks to consumers.
  15         198.    Ranitidine-Containing Drugs did not perform as safely as an ordinary consumer would
  16   have expected when used in an intended and foreseeable manner.
  17         199.    Plaintiff was harmed by ingesting defective and unreasonably dangerous Ranitidine-
  18   Containing Drugs without knowledge of the grave risks of cancer and other serious illnesses.
  19         200.    The Ranitidine-Containing Drugs’ failure to operate safely was a substantial factor in
  20   causing Plaintiff’s harm. Plaintiff ingested these drugs, which caused Plaintiff’s conscious pain,
  21   suffering, and bodily impairment, including breast cancer.
  22                                    SECOND CAUSE OF ACTION
  23                            STRICT LIABILITY – FAILURE TO WARN
  24                          (AGAINST MANUFACTURER-DEFENDANTS)
  25         201.    Plaintiff hereby incorporates by reference the allegations contained in the preceding
  26   paragraphs of this Complaint as if fully stated herein.
  27         202.    Defendants manufactured Ranitidine-Containing Drugs.
  28
                                                   COMPLAINT
                                                        30
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   1          203.   At all relevant times, Defendants’ Zantac products reached the intended consumers,
   2   handlers, and users or other persons coming into contact with these products within this judicial
   3   district and throughout the United States, including Plaintiff, without substantial change in their
   4   condition as designed, manufactured, sold, distributed, labeled, and marketed by Defendants.
   5          204.   The Ranitidine-Containing Drugs had potential risks that Defendants knew or were
   6   knowable in light of scientific and medical knowledge that was generally accepted in the scientific
   7   community at the time of manufacture.
   8          205.   The potential risk of cancer presented a substantial danger when Ranitidine-
   9   Containing Drugs are used in an intended and/or reasonably foreseeable way.
  10          206.   Ordinary consumers would not have been able to recognize the potential risks of
  11   cancer as a result of ingesting Ranitidine-Containing Drugs.
  12          207.   Defendants failed to adequately warn of potential risks from Ranitidine-Containing
  13   Drugs. During the time period Plaintiff ingested and/or was exposed to Ranitidine-Containing
  14   Drugs, the warnings associated with the product were incomplete, vague, or otherwise inadequate
  15   and failed to notify consumers to the health risks, including risks of cancer, stemming from the use
  16   of such Ranitidine-Containing Drugs.
  17          208.   Defendants failed to warn Plaintiff’s prescribing physician and failed to provide
  18   Plaintiff’s physicians with the potential risks that may follow the foreseeable use of Ranitidine-
  19   Containing Drugs.
  20          209.   The lack of sufficient warning was a substantial factor in causing Plaintiff’s harm. As
  21   a result of the lack of sufficient warning, Plaintiff chose to ingest these drugs, which caused
  22   Plaintiff’s conscious pain, suffering, and bodily impairment, including breast cancer.
  23                                    THIRD CAUSE OF ACTION
  24                                NEGLIGENT MISREPRESENTATION
  25                           (AGAINST MANUFACTURER-DEFENDANTS)
              210.   Plaintiff hereby incorporates by reference the allegations contained in the preceding
  26

  27 paragraphs of this Complaint as if fully stated herein.

  28
                                                  COMPLAINT
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              211.    While representing carcinogenic Ranitidine-Containing Drugs as safe, Manufacturer-
   1

   2 Defendants failed to employ manufacturing methods that ensured Ranitidine-Containing Drugs met

   3 the quality and purity characteristics they purported to possess.

   4          212.    As early as 1981, scientific research was available that evidenced elevated rates of
   5
       NDMA. This was known or should have been known by the Defendants when they began
   6
       marketing, promoting, labelling, and selling Ranitidine-Containing Drugs.
   7
              213.    Defendants failed to disclose this risk to consumers on the drug’s label—or through
   8

   9 any other means—and Defendants failed to report these risks to the FDA.
  10          214.    The public, including Plaintiff, justifiably relies on information from the FDA and

  11 drug labels, as well as medical providers, to communicate potentially life-altering risks of exposure

  12 and/or ingestion of medications.

  13
              215.    As a result of Defendants’ representation of the safety of Ranitidine-Containing
  14
       Drugs, Plaintiff chose to ingest these drugs, which caused Plaintiff’s conscious pain, suffering, and
  15
       bodily impairment, including breast cancer.
  16

  17                                    FOURTH CAUSE OF ACTION
  18                                  FRAUDULENT CONCEALMENT
  19                            (AGAINST MANUFACTURER-DEFENDANTS)
  20          216.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

  21 paragraphs of this Complaint as if fully stated therein.

  22          217.    Despite the available scientific evidence of elevated rates of NDMA in Ranitidine-
  23
       Containing Drugs, Defendants concealed the dangerous hazards of ingesting Zantac and Ranitidine-
  24
       Containing Drugs from consumers by failing to report it to the FDA. The FDA relies on
  25
       manufacturers to present new and updated information regarding approved drugs. The public,
  26
       including Plaintiff, in turn depends on the FDA to make this information accessible to them.
  27

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                                                     COMPLAINT
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              218.    Manufacturers of an approved drug are required by regulations to submit an annual
   1

   2 report to the FDA containing, among other things, new information regarding the drug’s safety

   3 pursuant to C.F.R. § 314.81(b)(2) and 21 C.F.R. § 314.81(b)(2)(v).

   4          219.    In addition to failing to report these significant risks to the FDA, the
   5
       Manufacturer-Defendants deliberately concealed grave risks when marketing and promoting
   6
       Ranitidine-Containing Drugs that were known to the Defendant-Manufacturers but unknown to
   7
       Plaintiff. These concealments were motivated by Manufacturers’ desire to profit from Ranitidine-
   8

   9 Containing Drugs by representing to consumers that they were safe. Defendants were aware that
  10 full disclosure of the true life-threatening risks would likely cause the FDA recall long before April

  11 1, 2020.

  12          220.    Plaintiff would not have ingested neither the prescription nor OTC form of
  13
       Ranitidine-Containing Drugs had she been aware of the severity of these risks.
  14
              221.    As a direct result of ingesting these drugs, Plaintiff experienced conscious pain and
  15
                  suffering and bodily impairment, including,
  16

  17 but not limited to breast cancer, because of the ingestion and/or exposure to Ranitidine-Containing

  18 Drugs.

  19
                                          FIFTH CAUSE OF ACTION
  20
                                      NEGLIGENCE – MANUFACTURE
  21
                               (AGAINST MANUFACTURER-DEFENDANTS)
  22
              222.    Plaintiff hereby incorporates by reference the allegations contained in the preceding
  23
       paragraphs of this Complaint as if fully stated herein.
  24
              223.    Defendants distributed, marketed and/or sold Ranitidine-Containing Drugs to
  25
       consumers within Los Angeles County.
  26
              224.    At all relevant times, Defendants knew or, in the exercise of reasonable care, should
  27

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                                                    COMPLAINT
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   1 have known, that Ranitidine-Containing Drugs were dangerous when used in a reasonably foreseeable

   2 manner.

   3          225.   At all relevant times, Defendants knew or should have known that Ranitidine
   4 Containing Drugs had been contaminated with an industrial chemical known to cause cancer.

   5          226.   At all relevant times, Defendants had a duty to exercise reasonable care in providing
   6 both OTC and prescription users’ healthcare providers with: (a) specific directions for safe use of

   7 Ranitidine-Containing Drugs; (b) accurate, true, and correct information concerning the known or

   8 foreseeable risks of using Ranitidine-Containing Drugs as directed; and (c) appropriate, complete,

   9 and accurate warnings concerning the potential adverse effects of Ranitidine-Containing Drugs when
  10 used as intended, including the drugs’ ability to transform into a carcinogenic compound, NDMA –

  11 through a means that could reasonably be expected to reach foreseeable users and consumers.

  12 Defendants had a duty to provide adequate warnings while Ranitidine-Containing Drugs remained on

  13 the market.

  14          227.   At all relevant times, Defendants had a further duty to avoid tendering into the
  15 marketplace a product which Defendants knew, or should have known, posed risks outweighing its

  16 benefits or which they knew, or should have known, was dangerous and unfit for ingestion by anyone.

  17          228.   Defendants’ duty included exercising reasonable care to cease marketing and to
  18 discontinue Ranitidine-Containing Drugs when Defendants knew, or had reason to know, that the

  19 product should not be used for any purpose considering its relative risks.

  20          229.   Defendants knew or reasonably should have known that consumers would not be
  21 aware of the danger or the carcinogenic properties of Ranitidine-Containing Drugs when ingested.

  22          230.   Defendants failed to adequately warn of the danger of the consumption of Ranitidine
  23 Containing Drugs.

  24          231.   A reasonable manufacturer, distributor, or seller under the same or similar
  25 circumstances would have warned of the danger of the consumption of Ranitidine-Containing Drugs.

  26          232.   Defendants failed to warn Plaintiff’s prescribing physician and failed to provide
  27

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                                                  COMPLAINT
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   1 Plaintiff’s physician with the potential risks that may follow the foreseeable use of Ranitidine-

   2 Containing Drugs.

   3          233.   Defendant also breached their duty of care by failing to undertake sufficient studies
   4 and conduct necessary tests to determine whether Ranitidine-Containing Drugs were safe for their

   5 intended and foreseeable consumer use.

   6          234.   Defendants further breached their duty of care and were negligent in that while
   7 representing carcinogenic Ranitidine-Containing Drugs as safe, Defendants failed to employ

   8 manufacturing methods that ensured Ranitidine-Containing Drugs met the quality and purity

   9 characteristics they purported to possess.
  10          235.    Defendants’ breach of duty to Plaintiff was a substantial factor in causing Plaintiff’s
  11 harm.

  12                                     SIXTH CAUSE OF ACTION
  13                                     NEGLIGENCE - RETAILER
  14                                (AGAINST RETAILER-DEFENDANTS)
  15          210.   Plaintiff hereby incorporates by reference the allegations contained in the preceding
  16 paragraphs of this Complaint as if fully stated herein.

  17          211.   Defendants sold, handled, and stored Ranitidine-Containing Drugs within Los Angeles
  18 County.

  19          236.   At all relevant times, Defendants knew – or in the exercise of ordinary and reasonable
  20 care, should have known – of the hazards and dangers associated with Ranitidine-Containing Drugs’

  21 intended or foreseeable use.

  22          237.   At all relevant times, Defendants knew, or reasonably should have known, that
  23   Ranitidine-Containing Drugs’ carcinogenic properties caused them to be so dangerous that they
  24   should not have been purchased or consumed by anyone.
  25          238.   At all relevant times, Defendants knew or should have known of the carcinogenic
  26 properties of NDMA when Ranitidine-Containing Drugs are ingested and/or the elevated levels of

  27 NDMA that result from the transport, handling, and storage of Ranitidine-Containing Drugs.

  28
                                                   COMPLAINT
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   1          239.   Defendants were charged with a continuing duty to provide appropriate and accurate
   2 instructions regarding the proper expiration and retest dates, as well as storage and handling of

   3 Ranitidine-Containing Drugs.

   4          240.   Defendants had a duty to exercise ordinary care in storing ranitidine according to the
   5 temperature requirements on the label or otherwise informed of. Defendants breached their duty by

   6 failing to adhere to the established practices and procedures in storing Ranitidine-Containing Drugs.

   7 Ranitidine leads to NDMA exposure through the formation of NDMA over time under normal storage

   8 conditions and that increases significantly when exposed to heat. Defendants had a duty to exercise

   9 ordinary care in storing ranitidine in a way so as to avoid the formation of NDMA.
  10          241.   Defendants’ breach of duty was a substantial factor in causing Plaintiff’s harm.
  11                                        PUNITIVE DAMAGES
  12                          (AGAINST MANUFACTURER-DEFENDANTS)
  13          242.   Plaintiff hereby incorporates by reference the allegations contained in the preceding
  14 paragraphs of this Complaint as if fully stated herein.

  15          243.   The Defendant-Manufacturers’ conduct, as described above, was wanton, willful, and
  16 malicious, and carried out with conscious, reckless, and flagrant disregard for the rights, health,

  17 welfare, and safety of the consuming public, including Plaintiff.

  18          244.   Since introducing Ranitidine-Containing Drugs to the market, the Defendant
  19 Manufacturers made conscious decisions to not properly manufacture, warn, test, or inform

  20 consumers, including Plaintiff, of Ranitidine-Containing Drugs’ unreasonably dangerous condition.

  21          245.   The Defendant-Manufacturers’ officers, directors, and/or managing agents authorized
  22 and participated in the Defendant-Manufacturers’ practice of concealing the known risks and

  23 exposing unsuspecting purchasers and users of Ranitidine-Containing Drugs to excessive levels of

  24 NDMA, a known carcinogen.

  25          246.   The Defendant-Manufacturers deliberately marketed and promoted dangerous
  26 Ranitidine-Containing Drugs to mislead consumers, concealing grave risks known to the Defendant-

  27 Manufacturers but unknown to Plaintiff.        These concealments were motivated by Defendant-
  28
                                                  COMPLAINT
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   1 Manufacturers’ desire to profit from Ranitidine-Containing Drugs by representing to consumers that

   2 they were safe. Defendants were aware that full disclosure of the true life-threatening risks would

   3 likely cause the FDA recall long before April 1, 2020.

   4         247.      Thus, the Defendant-Manufacturers’ willful, outrageous and malicious conduct
   5 warrants an award of punitive damages.

   6                                              PRAYER FOR RELIEF
   7
                    WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
   8
                    A. For an award of actual and compensatory damages in such amount to be determined
   9
                       at trial and as provided by applicable law;
  10
                    B. For exemplary and punitive damages sufficient to punish and deter Defendants and
  11
                       others from future wrongful practices;
  12
                    C. For pre-judgment and post-judgment interest;
  13
                    D. For reasonable attorneys’ fees, court costs, and other litigation expenses; and
  14
                    E. Such other and further relief as this Court deems just and proper.
  15

  16
                                          DEMAND FOR JURY TRIAL
  17
             Plaintiff hereby respectfully requests a trial by jury on all appropriate issues raised in this
  18
       Complaint.
  19

  20

  21 DATED: April 19, 2021                            BEVERLY HILLS TRIAL ATTORNEYS, P.C.

  22

  23                                                  By:        ________________________
  24                                                             Azar Mouzari, Esq.
                                                                 Attorneys for Plaintiff
  25                                                             MARINA GOLDEN

  26

  27

  28
                                                     COMPLAINT
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Electronically FILED by Superior Court of California, County of Los Angeles on 04/19/2021 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                  Case 2:21-cv-03793-SVW-PVC Document 1-1 Filed 05/04/21 Page 39 of 48 Page ID #:49
                                                   21STCV14674
                                                                                                CM-010
              ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                             FOR COURT USE ONLY
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              Azar Mouzari, Esq. (State Bar No. 263461)
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              ATTORNEY FOR (Name):     Marina Golden
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF
                  ST REET ADDRESS:     111 North Hill Street
                                111 North Hill Street
                  MAILING ADDRESS:

                 CITY ANO ZIP CODE:
                                Los Angeles, California 90012
                   BRANCH NAME: Stanley Mosk Courthouse

               CASE NAME: Marina Golden v. SANOFI-AVENTIS U.S., LLC, et al.

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                                                                                                    JUDGE:
                      demanded        demanded is          Filed with first appearance by defendant
                      exceeds $25,000)$25,000 o r less)         (Cal. Rules of Court, rule 3.402)     DEPT :

                                         Items 1--6 below must be completed (see instructions on page 2).
           1. Check one box below for the case type that best describes this case:
                Auto Tort                                                Contract                                        Provisionally Complex Civil Litigation
                D         Auto (22)                                     D        Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
                D         Uninsured motorist (46)                       D        Rule 3.740 collections (09)             D       Antitrust/Trade regulation (03)
                Other Pl/PD/WO (Personal Injury/Property                D        Other collections (09)                  D       Construction defect (1 O)
                Damage/Wrongful Death) Tort                             D        Insurance coverage (18)                 D       Mass tort (40)
                D
                1'71      Asbestos (04)                                 D        Other contract (37)                     D       Securities litigation (28)
                ldJ Product liability (24)                               Real Property                                   D       Environmental/Toxic tort (30)
                D   Medical malpractice (45)                            D        Eminent domain/Inverse                  D       Insurance coverage claims arising from the
                D         Other Pl/PD/WO (23)                                    condemnation (14)                               above listed provisionally complex case
                 Non-Pl/PD/WO (Other) Tort                              D        Wrongful eviction (33)                          types (41)

                D     Business tort/unfair business practice (07)       D        Other real property (26)                Enforcement of Judgment
                D     Civil rights (08)                           Unlawful Detainer                                      D       Enforcement of judgment (20)
                D     Defamation (13)                                    D
                                                                        Commercial (31)                                  Miscellaneous Civil Complaint
                D     Fraud (16)                                         D
                                                                        Residential (32)                                 D       RIC0(27)
                D     Intellectual property (19)                         D
                                                                        Drugs (38)                                       D       Other complaint (not specified above) (42)
                D     Professional negligence (25)                Judicial Review                                        Miscellaneous Civil Petition
                D     Other non-Pl/PD/WO tort (35)                      D
                                                                        Asset forfeiture (05)                            D       Partnership and corporate governance (21 )
                IEm]loyment                                              D
                                                                        Petition re: arbitration award (11)              D       Other petition (not specified above) (43)
                      Wrongful termination (36)                          D
                                                                        Writ of mandate (02)
                D     Other employment (15)                              D
                                                                        Other judicial review (39)
           2. T his case LJ is       l.XJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
              factors requiring exceptional judicial management:
                 a.   D      Large number of separately represented parties                   d.    D   Large number of witnesses
                 b.D         Extensive motion practice raising difficult or novel              e.   D   Coordination with related actions pending in one or more courts
                             issues that will be time-consuming to resolve                              in other counties, states, or countries, or in a federal court
                 c.   D      Substantial amount of documentary evidence                       f. D Substantial postjudgment judicial supervision
          3. Remedies sought (check all that apply):                 a.5Z] monetary          b. D nonmonetary; declaratory or injunctive relief  c. 5Z] punitive
          4. Number of causes of action (specify) : 6
           5. T his case         D
                                is   [X] is not a class action suit.
           6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)

           Date:      April 19, 2021
                                              Azar Mouzari
                                              (TYPE OR PRINT NAME)
                                                                                             NOTICE
              • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                in sanctions.
              • File this cover sheet in addition to any cover sheet required by local court rule.
              • If this case is complex under rule 3 .400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                other parties to the action or proceeding.
              • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                                      Flae1ol 2


                                                                     EXHIBIT A -- PAGE 38
           Form Adopled for Mandalory Use                                                                                             Cal. Rules of Court, rules 2.30, 3.220, 3.401)-3.403, 3 .740:
             Judicial Council of California
                                                                         CIVIL CASE COVER SHEET                                               Cal. Standards of Judicial Adminislralion, sld. 3.10
             CM-0 10 !Rev. July 1, 2007]                                                                                                                                    www.courtinfo.ca.gov
       Case 2:21-cv-03793-SVW-PVC Document 1-1 Filed 05/04/21 Page 40 of 48 Page ID #:50
                                                                                                                                         CM-010
                                         INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                            CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
      Auto (22)-Personal Injury/Property              Breach of ContracVVvarranty (06)              Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                           Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
      Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                                or wrongful eviction)                  Claims Involving Mass Tort (40)
         motorist claim subject to                       Contract/Warranty Breach-Seller                 Securities Litigation (28)
        arbitration, check this item                          Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
         instead of Auto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                      (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                  case type listed above) (41 )
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                       County)
          Asbestos Personal Injury/
               Wrongful Death                                 Case                                           Confession of Judgment (non-
      Product Liability (not asbestos or             Insurance Coverage (not provisionally                       domestic relations)
          toxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                         (not unpaid taxes)
               Physicians & Surgeons                 Other Contract (37)                                     Petition/Certification of Entry of
         Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                              Other Enforcement of Judgment
                                                  Real Property                                                  Case
      Other Pl/PD/WO (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
               and fall)                                Condemnation (14)                                RICO (27)
          Intentional Bodily Injury/PD/WO            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                            above) (42)
               (e.g., assault, vandalism)            Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                         Declaratory Relief Only
                                                        Writ of Possession of Real Property                 Injunctive Relief Only (non-
               Emotional Distress                       Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                       Quiet Title
               Emotional Distress                                                                            Mechanics Lien
                                                        Other Real Property (not eminent
         Other Pl/PD/WO                                                                                      Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                             Other Civil Complaint
      Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                (non-tort/non-complex)
          Practice (07)                               Commercial (31}                                Miscellaneous Civil Petition
      Civil Rights (e.g., discrimination,             Residential (32}                                   Partnership and Corporate
          false arrest) (not civil                    Drugs (38) (if the case involves illegal               Governance (21)
           harassment) (08)                              drugs, check this item; otherwise,              Other Petition (not specified
      Defamation (e.g., slander, libel)                  report as Commercial or Residential)                above) (43)
            (13)                                 Judicial Review                                             Civil Harassment
      Fraud (16)                                    Asset Forfeiture (05)                                    Workplace Violence
      Intellectual Property (19)                     Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
      Professional Negligence (25)                   Writ of Mandate (02)                                         Abuse
          Legal Malpractice                               Writ- Administrative Mandamus                      Election Contest
          Other Professional Malpractice                  Writ- Mandamus on Limited Court                    Petition for Name Change
                (not medical or legal)                       Case Matter                                     Petition for Relief From Late
       Other Non-Pl/PD/WO Tort (35)                       Writ-Other Limited Court Case                           Claim
Employment                                                   Review                                          Other Civil Petition
      Wrongful Termination (36)                      Other Judicial Review (39)
      Other Employment (15)                               Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 (Rev. J uly 1, 2007]                                                                                                                  Page 2 of 2

                                                EXHIBIT A -- PAGE 39
                                                     CIVIL CASE COVER SHEET
Electronically FILED by Superior Court of California, County of Los Angeles on 04/19/2021 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                     Case 2:21-cv-03793-SVW-PVC Document 1-1 Filed 05/04/21 Page 41 of 48 Page ID #:51
                                                                      21STCV14674



                                     SHORT TITLE:                                                                                   CASE NUMBER

                                     Marina Golden v. SANOFI-AVENTIS U.S., LLC, et al.

                                                          CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                                       (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                    This form is required pursuant to LASC Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.
             Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
                       JURY TRIAL?                    YES      CLASS ACTION?
                                                                                  □ YES       LIMITED CASE?
                                                                                                                    □ YES       HOURS/ Ill DAYS
                                                                                                                              TIME ESTIMATED FOR TRIAL 5-7 ____ □
             Item II. Select the correct district and courthouse location (4 steps - If you checked "Limited Case", skip to Item Ill, Pg. 4):
             Step 1: After first completing the Civil Case Cover Sheet Form, find the main civil case cover sheet heading for your case in
             the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.
             Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.
             Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have checked.
             For any exception to the court location, see Los Angeles Superior Court Local Rule 2.0.

                                                      Applicable Reasons for Choosing Courthouse Location (see Column C below)
                                    1.   Class Actions must be filed in the County Courthouse, Central District.               6. Location of property or permanently garaged vehicle.
                                    2.   May be filed in Central (Other county, or no Bodily Injury/Property Damage).          7. Location where petitioner resides.
                                    3.   Location where cause of action arose.                                                 8. Location wherein defendant/respondent functions wholly.
                                    4.   Location where bodily injury, death or damage occurred.                               9. Location where one or more of the parties reside.
                                    5.   Location where performance required or defendant resides.                             10. Location of Labor Commissioner Office.

             Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.
                                                  A                                                              B                                                           C
                                     Civil Case Cover Sheet        Type of Action                                                                              Applicable Reasons -
                                           Category No.                                                  (Check only one)                                       See Step 3 Above
                 Auto Tort




                                               Auto (22)               □      A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death             1., 2., 4.

                                     Uninsured Motorist (46)           □     A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist         1., 2., 4.


                                                                       □     A6070 Asbestos Property Damage                                                    2.
                                            Asbestos (04)                    A7221 Asbestos - Personal Injury/Wrongful Death
                                                                       □
   Other Personal Injury/Property
   Damage/Wrongful Death Tort




                                                                                                                                                               2.

                                         Product Liability (24)
                                                                       Ill   A7260 Product Liability (not asbestos or toxic/environmental)                     1., 2., 3., 4., 8.


                                                                       □     A7210 Medical Malpractice - Physicians & Surgeons                                 1., 2., 4.
                                     Medical Malpractice (45)
                                                                       □     A7240 Other Professional Health Care Malpractice                                  1., 2., 4.

                                                                       □     A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                               1., 2., 4.
                                                Other                        A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                            Personal Injury            □
                                                                              assault, vandalism, etc.)
                                           Property Damage                                                                                                     1., 2., 4.
                                            Wrongful Death             □     A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                               1., 2., 3.
                                                 (23)
                                                                       □     A7220 Other Personal Injury/Property Damage/Wrongful Death                        1., 2., 4.
   Damage/Wrongful Death Tort
   Non-Personal Injury/Property




                                          Business Tort (07)
                                                                       □     A6029    Other Commercial/Business Tort (not fraud/breach of contract)            1., 2., 3.

                                           Civil Rights (08)
                                                                       □     A6005    Civil Rights/Discrimination                                              1., 2., 3.

                                           Defamation (13)
                                                                       □     A6010 Defamation (slander/libel)                                                  1., 2., 3.

                                              Fraud (16)               □     A6013 Fraud (no contract)
                                                                                                                                                               1., 2., 3.




                                    CIV 109 03-04 (Rev. 03/06)                       CIVIL CASE COVER SHEET ADDENDUM                                                        LASC, rule 2.0
                                    LASC Approved                                     EXHIBIT     A -- PAGE
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                                                                                                       OF LOCATION                                                            Page 1 of 4
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Non-Personal Injury/Property Damage/


                                                       SHORT TITLE:                                                                          CASE NUMBER
                                                       Marina Golden v. SANOFI-AVENTIS U.S., LLC, et al.

                                       ...
                                       '0
                                        C                         A
                                        0
                                                       Civil Case Cover
                                                                                                                             B                                                           C
                                       ~                                                                              Type of Action                                         Applicable Reasons
                                       t::             Sheet Category No.
                                        0                                                                            (Check only one)                                         -See Step 3 Above
                                       1-
                                       .c
                                       'IiiQI                Professional              A6017 Legal Malpractice                                                              1., 2., 3.
                                       C                     Negligence
                                                                                   □
                                                                                                                                                                            1., 2., 3.
                                       ....'3Cl                  (25)              □   A6050 Other Professional Malpractice (not medical or legal)
                                        C
                                        e                     Other (35)           □   A6025 Other Non-Personal Injury/Property Damage tort                                 2.,3.
                                       3:
                                                        Wrongful Termination
                Employment




                                                                                   □   A6037 Wrongful Termination                                                           1., 2., 3.
                                                               (36)

                                                         Other Employment
                                                                                   □   A6024 Other Employment Complaint Case                                                1., 2., 3.
                                                                (15)
                                                                                   □   A6109    Labor Commissioner Appeals                                                  10.

                                                         Breach of Contract/       □   A6004 Breach of Rental/Lease Contract (not Unlawful Detainer or wrongful eviction)   2., 5.
                                                              Warranty                 A6008   Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                                                 (06)              □                                                                                        2., 5.
                                                           (not insurance)         □   A6019   Negligent Breach of Contract/Warranty (no fraud)                             1., 2., 5.
                                                                                   □   A6028   Other Breach of Contract/Warranty (not fraud or negligence)
                                                                                                                                                                            1., 2., 5.
                   Contract




                                                                                   □   A6002   Collections Case-Seller Plaintiff                                            2., 5., 6.
                                                             Collections
                                                                (09)               □   A6012   Other Promissory Note/Collections Case                                       2., 5.

                                                         Insurance Coverage
                                                                                   □   A6015 Insurance Coverage (not complex)                                               1., 2., 5., 8.
                                                                 (18)

                                                           Other Contract          □   A6009 Contractual Fraud                                                              1., 2., 3., 5.
                                                                (37)                   A6031 Tortious Interference
                                                                                   □                                                                                        1., 2., 3., 5.

                                                                                   □   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                  1., 2., 3., 8.

                                                             Eminent
                                                                                   □   A7300 Eminent Domain/Condemnation              Number of parcels______               2.
                                                          Domain/Inverse
                                                         Condemnation (14)
                 Real Property




                                                          Wrongful Eviction
                                                                                   □   A6023    Wrongful Eviction Case                                                      2., 6.
                                                               (33)


                                                                                   □   A6018 Mortgage Foreclosure                                                           2., 6.
                                                         Other Real Property
                                                                (26)               □   A6032 Quiet Title                                                                    2., 6.
                                                                                   □   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure )
                                                                                                                                                                            2., 6.
                  Judicial Review Unlawful Detainer




                                                         Unlawful Detainer-
                                                                                   □   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                  2., 6.
                                                          Commercial (31)

                                                         Unlawful Detainer-
                                                                                   □   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)                 2., 6.
                                                          Residential (32)

                                                         Unlawful Detainer-
                                                                                   □   A6022 Unlawful Detainer-Drugs                                                        2., 6.
                                                            Drugs (38)

                                                        Asset Forfeiture (05)      □   A6108   Asset Forfeiture Case                                                        2., 6.
                                                        Petition re Arbitration
                                                                                   □   A6115 Petition to Compel/Confirm/Vacate Arbitration                                  2., 5.
                                                                 (11)



                                                      CIV 109 03-04 (Rev. 03/06)               CIVIL CASE COVER SHEET ADDENDUM                                                   LASC, rule 2.0
                                                      LASC Approved                             EXHIBIT     A -- PAGE
                                                                                                  AND STATEMENT         41
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                                 SHORT TITLE:                                                                       CASE NUMBER

                                Marina Golden v. SANOFI-AVENTIS U.S., LLC, et al.


                                                A                                                 B                                                 C
                  ...
                  '0
                      C
                                 Civil Case Cover Sheet                                    Type of Action                           Applicable Reasons -
                      0                Category No.                                       (Check only one)                           See Step 3 Above
                  ~
                                                              □   A6151 Writ - Administrative Mandamus                             2., 8.
                       ~
                      CD
                                     Writ of Mandate          □   A6152   Writ - Mandamus on Limited Court Case Matter
                 "i                                                                                                                2.
                  a:                        (02)              □   A6153   Writ - Other Limited Court Case Review
                                                                                                                                   2.
                  iii
                 ·u
                 :a:::,           Other Judicial Review
                                                              □   A6150   Other Writ /Judicial Review                              2., 8.
                  -,                      (39)

                                      Antitrust/Trade
                                                              □   A6003   Antitrust/Trade Regulation                               1., 2., 8.
                                      Regulation (03)

                                 Construction Defect (10)
Provisionally Complex




                                                              □   A6007 Construction defect                                        1., 2., 3.

                                  Claims Involving Mass
                                                              □   A6006   Claims Involving Mass Tort                               1., 2., 8.
       Litigation




                                        Tort (40)

                                 Securities Litigation (28)   □   A6035 Securities Litigation Case
                                                                                                                                   1., 2., 8.

                                        Toxic Tort
                                                              □   A6036 Toxic Tort/Environmental                                   1., 2., 3., 8.
                                   Environmental (30)

                                   Insurance Coverage
                                                              □   A6014 Insurance Coverage/Subrogation (complex case only)         1., 2., 5., 8.
                                   Claims from Complex
                                        Case (41)

                                                              □   A6141 Sister State Judgment                                      2., 9.

                                                              □   A6160 Abstract of Judgment                                       2., 6.
                                       Enforcement
of Judgment
Enforcement




                                       of Judgment            □   A6107 Confession of Judgment (non-domestic relations)            2., 9.
                                            (20)              □   A6140 Administrative Agency Award (not unpaid taxes)
                                                                                                                                   2., 8.
                                                              □   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax
                                                                                                                                   2., 8.
                                                              □   A6112 Other Enforcement of Judgment Case
                                                                                                                                   2., 8., 9.

                                        RICO (27)             □   A6033 Racketeering (RICO) Case                                   1., 2., 8.
Miscellaneous Civil
   Complaints




                                                              □   A6030 Declaratory Relief Only                                    1., 2., 8.
                                    Other Complaints          □   A6040 Injunctive Relief Only (not domestic/harassment)           2., 8.
                                  (Not Specified Above)
                                                              □   A6011 Other Commercial Complaint Case (non-tort/non-complex)     1., 2., 8.
                                            (42)                  A6000 Other Civil Complaint (non-tort/non-complex)
                                                              □                                                                    1., 2., 8.

                                 Partnership Corporation          A6113 Partnership and Corporate Governance Case
                                    Governance(21)
                                                              □                                                                    2., 8.
Miscellaneous Civil Petitions




                                                              □   A6121 Civil Harassment                                           2., 3., 9.
                                                              □   A6123 Workplace Harassment                                       2., 3., 9.
                                                              □   A6124 Elder/Dependent Adult Abuse Case                           2., 3., 9.
                                     Other Petitions
                                  (Not Specified Above)       □   A6190 Election Contest
                                                                                                                                   2.
                                                              □   A6110 Petition for Change of Name
                                            (43)                                                                                   2., 7.
                                                              □   A6170 Petition for Relief from Late Claim Law
                                                                                                                                   2., 3., 4., 8.
                                                              □   A6100 Other Civil Petition
                                                                                                                                   2., 9.




                                CIV 109 03-04 (Rev. 03/06)            CIVIL CASE COVER SHEET ADDENDUM                                           LASC, rule 2.0
                                LASC Approved                          EXHIBIT     A -- PAGE
                                                                         AND STATEMENT         42
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 SHORT TITLE:                                                                       CASE NUMBER
Marina Golden v. SANOFI-AVENTIS U.S., LLC, et al.

Item III. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or
other circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

         REASON: CHECK THE NUMBER UNDER COLUMN C                     ADDRESS:

                   WHICH APPLIES IN THIS CASE

     □ 1. □ 2. □ 3. Ill 4. □ 5. □ 6. □ 7. □ 8. □ 9. □ 10.
 CITY:                              STATE:       ZIP CODE:




Item IV. Declaration of Assignment: I declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct and that the above-entitled matter is properly filed for assignment to the ___________________courthouse
                                                                                            Stanley Mosk                  in the
____________________
Central              District of the Los Angeles Superior Court (Code Civ. Proc., § 392 et seq., and LASC Local Rule 2.0,
subds. (b), (c) and (d)).




Dated: ______________
         April 19, 2021                                                    _________________________________
                                                                                    (SIGNATURE OF ATTORNEY/FILING PARTY)




         PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO
                          PROPERLY COMMENCE YOUR NEW COURT CASE:

     1. Original Complaint or Petition.
     2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
     3. Civil Case Cover Sheet form CM-010.

     4. Complete Addendum to Civil Case Cover Sheet form LASC Approved CIV 109 03-04 (Rev. 03/06).
     5. Payment in full of the filing fee, unless fees have been waived.
     6. Signed order appointing the Guardian ad Litem, JC form 982(a)(27), if the plaintiff or petitioner is a minor
        under 18 years of age, or if required by Court.

     7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
        must be served along with the summons and complaint, or other initiating pleading in the case.




CIV 109 03-04 (Rev. 03/06)              CIVIL CASE COVER SHEET ADDENDUM                                                    LASC, rule 2.0
LASC Approved                            EXHIBIT     A -- PAGE
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Electronically FILED by Superior Court of California, County of Los Angeles on 04/19/2021 03:51 PM Sherri R. Carter, Executive Officer/Clerk of Court, by V. Delgadillo,Deputy Clerk

                                                                                                                                                                         SUM-100
                                                      SUMMONS                                                                                     FOR COURT USE ONLY
                                                                                                                                              (SOLO PARA USO DE LA CORTE)
                                             (CITACION JUDICIAL)
       NOTICE TO DEFENDANT:
       (AVISO AL DEMANDADO):
       SANOFI-AVENTIS U.S., LLC, a Delaware Corporation; Additional Parties Attachment Form is
       attached.
       YOU ARE BEING SUED BY PLAINTIFF:
       (LO ESTÁ DEMANDANDO EL DEMANDANTE):
       MARINA GOLDEN, an individual.
        NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
        below.
           You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
        served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
        case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
        Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
        court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
        be taken without further warning from the court.
           There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
        referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
        these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
        (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
        costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
        ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
        continuación.
           Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
        corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
        en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
        Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
        biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
        le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
        quitar su sueldo, dinero y bienes sin más advertencia.
           Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
        remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
        programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
        (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
        colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
        cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
        pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
       The name and address of the court is:                                                                                CASE NUMBER: (Número del Caso):
       (El nombre y dirección de la corte es): Stanley Mosk Courthouse                                                       21STCV14674
       Superior Court of California, County of Los Angeles
       111 North Hill Street, Los Angeles, California 90012
       The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la dirección y el número
       de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
       Azar Mouzari, Beverly Hills Trial Attorneys, P.C., 468 N. Camden Drive, Suite 238, Beverly Hills CA 90210, 310-858-5567
       DATE:                                                                          Clerk, by                                          , Deputy
       (Fecha)                                                                        (Secretario)                                       (Adjunto)
       (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010).)
                                        NOTICE TO THE PERSON SERVED: You are served
        [SEAL]
                                                 1.    D      as an individual defendant.
                                                 2.    D      as the person sued under the fictitious name of (specify):

                                                 3.    D      on behalf of (specify):
                                                       under:   D    CCP 416.10 (corporation)                                  D       CCP 416.60 (minor)
                                                                D    CCP 416.20 (defunct corporation)                          D       CCP 416.70 (conservatee)
                                                                D    CCP 416.40 (association or partnership)                   D       CCP 416.90 (authorized person)
                                                                D    other (specify):
                                                 4.    D      by personal delivery on (date)                                                                                 Page 1 of 1
       Form Adopted for Mandatory Use
       Judicial Council of California
                                                                                     SUMMONS                                                       Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                       www.courts.ca.gov
       SUM-100 [Rev. July 1, 2009]

                                                                EXHIBIT A -- PAGE 44
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                                                                                                                             SUM-200(A)
 SHORT TITLE:                                                                                CASE NUMBER:

 Marina Golden v. SANOFI-AVENTIS U.S., LLC, et al.                                           21STCV14674


                                                        INSTRUCTIONS FOR USE
 ➔ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
 ➔ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
   Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):

      D Plaintiff      [KJ Defendant       D Cross-Complainant       D Cross-Defendant
BOEHRINGER INGELHEIM PHARMACEUTICALS, INC., a Delaware Corporation; GLAXOSMITHKLINE, LLC, a Delaware Limited
Liability Company; PFIZER, INC., a Delaware Corporation; AMERISOURCE HEALTH SERVICES, LLC, a Delaware Corporation;
MYLAN PHARMACEUTICALS, INC., a West Virginia Corporation; PAR PHARMACEUTICAL, INC., a New York Corporation; L.
PERRIGO COMPANY, a Michigan Corporation; TARO PHARMACEUTICALS U.S.A., INC., a New York Corporation; TEVA
PHARMACEUTICALS USA, INC., a Delaware Corporation; WOCKHARDT USA, LLC, a Delaware Limited Liability Company; ZYDUS
PHARMACEUTICALS (USA), Inc., a New Jersey Corporation; CVS PHARMACY, INC., a Delaware Corporation; THE KROGER CO.,
an Ohio Corporation; WALGREEN CO., an Illinois Corporation; WALMART INC., an Arkansas Corporation, ALBERTSONS
COMPANIES, INC., a Delaware Corporation; RITE AID CORPORATION, a Pennsylvania Corporation; and DOES 1-10, inclusive.




                                                                                                                Page     1     of        1
                                                                                                                                    Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                             ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                      Attachment to Summons



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     Case 2:21-cv-03793-SVW-PVC Document 1-1 Filed 05/04/21 Page 47 of 48 Page ID #:57
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 21STCV14674

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Thomas D. Long                     31




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       04/19/2021
    on _____________________________                                        R. Clifton
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)
LASC Approved 05/06                         EXHIBIT A -- PAGE 46
                           NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
     Case 2:21-cv-03793-SVW-PVC Document 1-1 Filed 05/04/21 Page 48 of 48 Page ID #:58
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)
LASC Approved 05/06                           EXHIBIT A -- PAGE 47
                            NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
